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       Case No.         Pl. Last Name   Pl. First Name   Date of Index Surgery   Date of Case Filing
0:17‐cv‐02490‐JNE‐DTS     DeMougin           Nancy             2/7/2007              7/5/2017
0:17‐cv‐02633‐JNE‐DTS        Davis          Kenneth           11/7/2005              7/7/2017
0:17‐cv‐02792‐JNE‐DTS         Sons            Mary           12/28/2005             7/12/2017
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